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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:07CR3036
           V.                        )
                                     )
JOSEPH ROBERT MORANDO,               )
                                     )                   ORDER
                Defendants.          )
                                     )
                                     )


     THIS MATTER comes before the court on defendant Morando’s
motion to continue his trial currently scheduled to begin on July
23, 2007. Filing 30. The Court, being fully advised in the
premises, finds that said motion should be granted.

     IT IS THEREFORE ORDERED that the defendant’s trial is set to
commence at 9:00 a.m. on August 20, 2007 for a duration of five
trial days before the Honorable Richard G. Kopf. Jury selection
will be at the commencement of trial. This Court further finds
that, based upon the showing set forth in defendant’s motion, the
ends of justice will be served by continuing the trial; and that
the purposes served by continuing the trial date in this case
outweigh the interest of the defendant and the public in a speedy
trial. Accordingly, the time between July 23, 2007 and August
20, 2007 shall be excluded for speedy trial calculation purposes.
18 U.S.C. § 3161(h)(8)(a).


     DATED this 19th day of July, 2007.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
